Case 1:11-cv-05845-LTS Document 596-1 Filed 11/09/23 Page 1 of 17




                 Exhibit A
       Case 1:11-cv-05845-LTS Document 596-1 Filed 11/09/23 Page 2 of 17




                               CURRICULUM VITAE
NAME:                               Steve J. Martin

ADDRESS:                            3509 North Battle Creek Drive
                                    Broken Arrow, Oklahoma 74012

TELEPHONE:                          Office: (918)940-2495
                                    E-mail: sjmart@sbcglobal.net

DATE OF BIRTH:                      August 27, 1948

EDUCATION:

1973                                Bachelor of Science
                                    Criminology and Corrections
                                    Sam Houston State University
                                    Huntsville, Texas

1974                                Master of Arts
                                    Correctional Administration
                                    Sam Houston State University
                                    Huntsville, Texas

1981                                Juris Doctor
                                    University of Tulsa
                                    School of Law
                                    Tulsa, Oklahoma
                                    (Admitted to Texas State Bar-Card #13106550)

EMPLOYMENT:

1987-Present                        Corrections Consultant and Attorney

1986-1987                           Gray & Becker, Attorneys at Law
                                    General practice law firm engaged in litigation,
                                    administrative law, civil rights and legislative work.

1985-1986                           Texas Office of the Attorney General, Special Assistant
                                    Attorney General. Worked as a consultant to the Chief of the
                                    Enforcement Division on litigation involving the Texas
                                    Department of Corrections.


(Vita current as of October 2023)
       Case 1:11-cv-05845-LTS Document 596-1 Filed 11/09/23 Page 3 of 17




STEVE J. MARTIN VITA PAGE 2
Employment (continued)

1981-1985                     Texas Department of Corrections, Executive Assistant to the
                              Director (1984-85); General Counsel (1983-85); Legal
                              Counsel (1981-83), Huntsville, Texas.

                              As Legal Counsel, I served as the in-house attorney on class
                              action litigation. In 1982, I was given responsibility for
                              providing primary case administration of RUIZ v. ESTELLE
                              (a class action conditions lawsuit in which virtually all
                              operational aspects of the prison system were subject to court
                              orders). From 1983-85, I served as the chief legal officer of
                              the department. I also served as the liaison to the Office of
                              the Special Master in RUIZ as well as liaison to the Office of
                              the Attorney General and the Texas Legislature. From 1984
                              I also served as the Director's Executive Assistant, an
                              operations position and the third ranking official in the
                              department.

1980-1981                     Tulsa County District Attorney's Office
                              Assistant District Attorney/Legal Intern
                              Tulsa, Oklahoma

                              As an Assistant District Attorney/Legal Intern, I provided
                              representation to county jail officials on civil rights litigation
                              filed by county jail prisoners. I also drafted a set of jail
                              standards adopted by the district judges for operation of the
                              jail.

1975-1980                     United States Probation and Parole Office
                              U.S. Probation and Parole Officer
                              McAllen, Texas (1975-77)
                              Tulsa, Oklahoma (1977-80)

                              As a probation officer I supervised an average caseload of 50
                              to 75 probationers and parolees in addition to conducting
                              pre-sentence and pre-trial diversion reports.

1974                          Federal Bureau of Prisons
                              Federal Corrections Institution, Ft. Worth, Texas

                              After my first year of graduate school, I worked as a summer
                              Casework Intern for the Director of Mental Health Programs
                              at the facility.
       Case 1:11-cv-05845-LTS Document 596-1 Filed 11/09/23 Page 4 of 17




STEVE J. MARTIN VITA PAGE 3
Employment (continued)

1972-1973                     Texas Department of Corrections, Correctional Officer,
                              Huntsville, Texas.

                              I was assigned to the Ellis Unit, a maximum security prison,
                              and worked routine security posts such as cellblocks, control
                              center, hall officer, and death row. I also worked at the Goree
                              Unit for female offenders.


REPRESENTATIVE PROFESSIONAL ACTIVITIES:

2015-Present                  Appointed as Federal Court Monitor, NUNEZ v. NEW
                              YORK CITY DEPARTMENT OF CORRECTIONS to
                              monitor Consent Judgment related to department use of force,
                              inmate discipline, and supervision of inmates.

2006-Present                  Member of Editorial Board, Correctional Law Reporter.

2015-Present                  Retained as an expert witness, Cheatham v. Thomas,
                              regarding conditions of confinement at the St. Clair
                              Correctional Facility, Alabama Department of Corrections.

2019-2022                     Retained as an expert witness, Rivera v. Cameron County
                              Sheriff’s Office, regarding the in-custody death from staff
                              Use of force.

2020                          Retained as expert witness, Gutierrez v. Sainz, right of the
                              presence of spiritual advisor during execution, Texas
                              Department of Criminal Justice.

2010-2011                     Retained as an expert witness, Dunlap v. Zavaras, conditions
                              of confinement on death row, Colorado Department of
                              Corrections.

2005-2016                     Retained as an expert witness, T.R., P.R., and K.W. v.
                              SOUTH CAROLINA DEPARTMENT OF CORRECTIONS,
                              class action litigation regarding the treatment of mentally ill
                              inmates in the South Carolina Department of Corrections.

2012-2016                     Appointed as Federal Court Monitor, C.B. v. WALNUT
                              GROVE CORRECTIONAL AUTHORITY, Mississippi, to
                              monitor Court Order regarding conditions of confinement.
       Case 1:11-cv-05845-LTS Document 596-1 Filed 11/09/23 Page 5 of 17




STEVE J. MARTIN VITA PAGE 4
Representative Professional Activities (continued)

2013-2016                          Retained as an expert witness, BERNDT v. CDCR, regarding
                                   sexual harassment claims by female correctional officers.

2006-2016                          Retained as an expert witness, WILKERSON, et al. v.
                                   STALDER, regarding the placement of inmates in long-term
                                   segregation at the Louisiana State Penitentiary, Angola.

2013-2015                          Retained as an expert witness, NUNEZ v. CITY OF NEW
                                   YORK, class action lawsuit regarding staff use of force in the
                                   New York City jails.

2011-2015                          Retained by the Department of Homeland Security, Office for
                                   Civil Rights and Civil Liberties as penology expert.

2012-2014                          Retained as an expert witness, ROSAS v. BACA, class action
                                   lawsuit regarding staff use of force at the Los Angeles County
                                   jails.

2012-2014                          Retained as an expert witness, MASON v. HALE, class
                                   action lawsuit regarding conditions of confinement at the
                                   Jefferson County Jail, Birmingham, Alabama.

2011-2014                          Retained as expert witness, BOOKER v. CITY AND
                                   COUNTY OF DENVER, regarding in-custody death related
                                   to staff use of force.

2007-2013                          Retained by the U.S. Attorney’s Office, New York City, to
                                   examine staff use of force at the Westchester County Jail,
                                   White Plains, New York.

2008-2013                          Retained as an expert witness, CARTY v DEJONGH,
                                   regarding conditions of confinement at facilities in St.
                                   Thomas, Virgin Islands.

2010-2015                          Retained as an expert witness, SHREVE v FRANKLIN
                                   COUNTY JAIL, regarding staff use of force.

2010-2013                          Retained as an expert witness, SOLIS v BACA, regarding
                                   strip searches at the Los Angeles County Jail.

2011-2014                          Retained by Department of Justice, State of California, as a
                                   consultant in the matter of COLEMAN V. BROWN.
       Case 1:11-cv-05845-LTS Document 596-1 Filed 11/09/23 Page 6 of 17




STEVE J. MARTIN VITA PAGE 5
Representative Professional Activities (continued)

2011-2013                          Retained as an expert witness, RODRIGUEZ, et al. v.
                                   COUNTY OF LOS ANGELES, et al., regarding use of force.

2013                               National PREA Resource Center, Certified Auditor for
                                   Adult Prison, Jail, and Juvenile Facility Standards.

2010-2014                          Appointed as Court Monitor, REYNOLDS v SCHRIRO, to
                                   monitor use of restraints by New York City Department of
                                   Corrections at the Bellevue and Elmhurst hospitals.

2007-2013                          Retained as a subject matter expert by Federal Court
                                   Montior, S.H. v. STICKRATH, to examine/monitor staff use
                                   of force, restraints, seclusion, classification, youth
                                   disciplinary practices, and youth grievances at the Ohio
                                   Department of Youth Services.

2011-2012                          Appointed as Federal Court Monitor, D.D. v.
                                   WASHINGTON COUNTY, OHIO, to monitor Consent
                                   Decree regarding operations at the WC Juvenile Center.

2011-2012                          Retained as an expert witness, KELLEY v ERICKSEN,
                                   regarding placement and conditions of confinement at the
                                   Green Bay Correctional Institution, Wisconsin.

2011-2012                          Retained as an expert witness, BLAKE v MAYNARD,
                                   regarding excessive use of force claim at the Maryland
                                   Reception and Diagnostic Classification Center.


2001-2005                          Appointed as a Court Expert, CARRUTHERS v. JENNE, to
                                   examine the conditions of confinement in Broward County
                                   Department of Detention, Ft. Lauderdale, Florida.

2003-2012                          Retained as an expert witness in DISABILITY
                                   ADVOCATES, INC. v. NEW YORK STATE OFFICE OF
                                   MENTAL HEALTH, et al., involving class action civil rights
                                   claims regarding the treatment of mentally ill inmates
                                   confined to disciplinary segregation, New York State
                                   Department of Corrections.
       Case 1:11-cv-05845-LTS Document 596-1 Filed 11/09/23 Page 7 of 17




STEVE J. MARTIN VITA PAGE 6
Representative Professional Activities (continued)


2009-2012                          Retained as an expert witness, HICKS v HETZEL, regarding
                                   conditions of confinement at the Donaldson Correctional
                                   Facility, Bessemer, Alabama.

2011                               Retained as an expert witness, HAMILTON v HALL,
                                   regarding correspondence policies of the Santa Rosa County
                                   Jail, Florida.

2004-2011                          Appointed as Court Monitor, GATES v. BARBOUR, to
                                   monitor capacity orders for the Mississippi Department of
                                   Corrections.

2005-2011                          Retained as an expert witness, FAIRLEY v. ANDREWS,
                                   regarding allegations of excessive force in the Cook County
                                   Jail, Chicago, Illinois.

2006-2009                          Retained as an expert, DITTIMUS-BEY, et al. v. TAYLOR,
                                   et al., regarding conditions of confinement at the Camden
                                   County Jail, Camden, New Jersey.

2007-2011                          Retained as an expert witness, VANDEHEY v. VALLARO,
                                   regarding use of force at the Garfield County Jail, Colorado.

2008-2011                          Retained as expert witness, SILVERSTEIN v. BOP, regarding
                                   confinement at the United States Penitentiary Administrative
                                   Maximum (“ADX”), Florence, Colorado.

2010                               Participated as amici curiae, SCHWARZENEGGER v.
                                   PLATA, regarding prison overcrowding in the California
                                   Department of Corrections.

1993-2008                          United States Department of Justice, Civil Rights Division,
                                   Special Litigation Section, Corrections Expert.

2005-2008                          Retained as an expert, WILLIAMS v. TASER
                                   INTERNATIONAL, INC., regarding use of force at the
                                   Gwinnett County Detention Center, Georgia.

2006-2008                          Retained as an expert witness, IKO v. GALLEY, regarding
                                   use of force at the Western Correctional Institution, Maryland
                                   Department of Public Safety and Correctional Service.
        Case 1:11-cv-05845-LTS Document 596-1 Filed 11/09/23 Page 8 of 17




STEVE J. MARTIN VITA PAGE 7
Representative Professional Activities (continued)

2007                               Participated as amici curiae, IQBAL v. ASHCROFT, U. S.
                                   Court of Appeals, 2nd Cir., regarding treatment of detainees at
                                   the Metropolitan Detention Center, New York City.

2008-2010                          Retained as an expert witness, JACKSON v. GERL, regarding
                                   use of force at the Wisconsin Secure Program Facility,
                                   Boscobel.

2007-2009                          Retained as an expert witness, YOUNG v. COOK COUNTY,
                                   regarding the strip search policies of the Cook County Jail.

2007-2008                          Retained as an expert witness, RUTLEDGE v. COOK
                                   COUNTY, regarding staff use of force at the Cook County Jail.

2007                               National Prison Rape Elimination Commission, Standards
                                   Development Expert Committee Member; also served as
                                   Member of Training Standards Committee.

2006-2007                          Retained as a consulting expert by the State Attorney, 13th
                                   Judicial Circuit, Tampa, Florida, In Re: In-Custody Death
                                   of Martin Lee Anderson while confined at the Bay County
                                   Boot Camp, Panama City, Florida.

2004-2006                          Retained as an expert witness, INGLES v. TORO, class action
                                   use of force litigation involving the New York City Department
                                   of Corrections.

2005-2006                          Retained as an expert witness, GILLIS v. LITSCHER, et al.,
                                   regarding placement of an inmate in the Behavior Management
                                   Program, Wisconsin Secure Program Facility.

2005                               American Bar Association, Criminal Justice Section, ABA
                                   Standards Committee, Legal Status of Prisoners Task Force
                                   Meeting, Participant assisting in the development of ABA
                                   Criminal Justice Standards on the Treatment of Prisoners.

2005                               Member, Travis County, Citizen Bond Advisory Committee;
                                   Chairman, Sub-Committee on Jails, Travis County, Texas.
        Case 1:11-cv-05845-LTS Document 596-1 Filed 11/09/23 Page 9 of 17




STEVE J. MARTIN VITA PAGE 8
Representative Professional Activities (continued)



2005                               Participated as amici curiae, WILKINSON v. AUSTIN, No. 04-
                                   495, Supreme Court of the United States; placement process for
                                   inmates in supermax prisons.

2002-2005                          Appointed as Court Monitor, UNITED STATES v. NASSAU
                                   COUNTY, to monitor Settlement Agreement on use of force,
                                   Nassau County Corrections Center, Long Island, New York.

2002-2005                          Retained as a consultant by the Georgia Attorney General’s
                                   Office to review use of force practices at the Phillips State
                                   Prison, Buford, Georgia.

2003-2004                           Retained as an expert witness, HARGETT v. ADAMS, class
                                    action litigation regarding conditions of confinement at the
                                    Joliet Treatment & Detention Facility, Illinois.

2003-2004                           Retained as an expert witness, NEW TIMES v. ADAMS, class
                                    action litigation regarding censorship practices of the Colorado
                                    Department of Corrections.

2002-2004                           Retained by the United States Attorney’s Office, San
                                    Francisco, as an expert in UNITED STATES v. LEWIS;
                                    criminal civil rights prosecution for civil rights violations at
                                    the Pelican Bay State Prison.

2003-2004                           Retained as a consultant by the Georgia Attorney General’s
                                    Office in BURNS v. WETHERINGTON, regarding civil rights
                                    claim for failure to protect an inmate at the Lee Arrendale
                                    State Prison, Alto, Georgia.

2004                                Retained as a consultant to the Ohio Department of Youth
                                    Services on staff use of force.

2004                                Retained as a consultant by the Los Angeles County, Special
                                    Counsel, to assist in a report to the Los Angeles County Board
                                    of Supervisors on inmate violence in the Los Angeles County
                                    jails.
       Case 1:11-cv-05845-LTS Document 596-1 Filed 11/09/23 Page 10 of 17




STEVE J. MARTIN VITA PAGE 9
Representative Professional Activities (continued)


2000-2002                          Appointed as Court Monitor, DOES v. STEWART, to monitor
                                   a system-wide class action remedial order on protective
                                   segregation for the Arizona Department of Corrections.


1998-2002                          Appointed as Court Monitor, SHEPPARD v. PHOENIX, to
                                   monitor a court order on use of force in the New York City
                                   Department of Corrections, Rikers Island.

2001                               Retained by the US Department of Justice and the U.S.
                                   Attorney’s Office, Brooklyn, NY to assist in the development
                                   of use of force remedial plan for Nassau County Sheriff’s
                                   Department.


2001                               Retained by the United States Attorney’s Office, San
                                   Francisco, as an expert in UNITED STATES v. POWERS and
                                   GARCIA, a criminal civil rights prosecution for civil rights
                                   violations at the Pelican Bay State Prison.

2001                               Retained by the Los Angeles County Board of Supervisors to
                                   evaluate the in-custody restraint death of a detainee.

2001                               Served as a Member of the research team of the Berkman
                                   Center, Harvard Law School, to evaluate rehabilitation
                                   programs in two Jamaican maximum security prisons.

2000                               Participated as amici curiae, ATWATER v. CITY OF LAGO
                                   VISTA, No. 99-1408, Supreme Court of the United States,
                                   regarding custodial arrests for a non-jailable misdemeanor.

1989-2000                          Retained as an expert witness and consultant, FELICIANO v.
                                   COLON, conditions litigation involving the Puerto Rico prison
                                   system.

1999-2001                          Retained as an expert, MULDROW v. KEOHANE, litigation
                                   regarding the use of restraints, USP, Atlanta, Georgia.
       Case 1:11-cv-05845-LTS Document 596-1 Filed 11/09/23 Page 11 of 17




STEVE J. MARTIN VITA PAGE 10
Representative Professional Activities (continued)


1999-2000                          Retained as an expert, SABATINO v. AMENN, class action
                                   litigation on the use of restraints, Erie County Prison,
                                   Pennsylvania.

1999-2000                          Retained as a consultant to review Immigration and
                                   Naturalization Service Detention Standards, United States
                                   Department of Justice.

1996-1999                          Retained as an expert, LEE v. COUGHLIN, litigation
                                   involving punitive segregation at Sing Sing/Southport prisons,
                                   New York.

1998-1999                          Retained as an expert, SPATES v. IOWA CORRECTIONAL
                                   INSTITUTION FOR WOMEN, conditions litigation.

1992-1995                          Retained as an expert witness, MADRID v. GOMEZ,
                                   conditions litigation involving Pelican Bay State Prison,
                                   California.

1996-1998                          Retained as an expert witness, COLLINS v. ALGARIN,
                                   litigation involving excessive force at Montgomery County
                                   Jail, Pennsylvania.

1994-1998                          Retained as an expert witness, ALLEN v. CHISHOLM,
                                   excessive use of force litigation involving Montana State
                                   Prison.

1995-1998                          Retained as an expert witness, BOLTON v. COOMBE,
                                   litigation involving double-celling practices at Woodbourne
                                   Correctional Facility, New York.

1996-1998                          Retained as an expert witness, SOLOMON v. DELLANA,
                                   litigation involving excessive use of force at the Allegheny
                                   County Jail, Pittsburgh.

1997-1998                          Retained as an expert witness, BLACKMON v. McCOTTER,
                                   litigation involving in-custody death at the Central Utah
                                   Correctional Facility.
       Case 1:11-cv-05845-LTS Document 596-1 Filed 11/09/23 Page 12 of 17




STEVE J. MARTIN VITA PAGE 11
Representative Professional Activities (continued)

1997-1998                          Retained as an expert witness, CLARK v. CALIFORNIA,
                                   litigation involving treatment of developmentally disabled
                                   prisoners in the California Department of Corrections.

1997-1998                          Retained as an expert witness, TATE v. GOMEZ, litigation
                                   involving lethal force at the Corcoran State Prison, California.

1994-1995                          Retained as an expert witness by the New York Attorney
                                   General's Office, BIN-WAHAD v. COUGHLIN, litigation
                                   involving claim of retaliatory transfer in New York
                                   Department of Corrections.

1993-1995                          Retained as a consultant to the Texas Comptroller of Public
                                   Accounts, Performance Review of the Texas Department of
                                   Criminal Justice.

1991-1993                          Gubernatorial appointee to the Texas Punishment Standards
                                   Commission; Vice-Chair, Policy Development Committee.

1989-1993                          Retained as a consultant and expert witness on prison and jail
                                   litigation by the Texas Attorney General's Office.

1992-1993                          Retained as a consultant, BENJAMIN v. ABATE. Principal
                                   author of Reports of Plaintiffs' Expert Consultants on
                                   Conditions in the New York City Jails, Legal Aid Society,
                                   New York.

1991-1992                          Staff Director, Study Committee on Judicial Education, Texas
                                   Supreme Court. Principal investigator for the Report on
                                   Judicial and Court Personnel Education Programs.

1990-1992                          Retained as an expert witness and consultant, JENSEN v.
                                   CLARKE, crowding litigation involving Nebraska State
                                   Prison, Lincoln, Nebraska.

1989-1993                          Retained as a consultant on litigation involving numerous
                                   county jails including Detroit, Seattle, Houston, Austin and
                                   San Antonio.

1989-1991                          Assisted Texas Legislature on the development of criminal
                                   justice legislation , 71st and 72nd Sessions.
       Case 1:11-cv-05845-LTS Document 596-1 Filed 11/09/23 Page 13 of 17




STEVE J. MARTIN VITA PAGE 12
Representative Professional Activities (continued)


1988-1989                         Gubernatorial Appointee to Texas Council on Offenders with
                                  Mental Impairments; Chairman, Legislative Subcommittee.

1986-1990                         Retained by Corrections Corporation of America, Nashville,
                                  Tennessee, to assist in the development and operation of
                                  private prison facilities in Texas.

1988-1992                         Employed as expert witness by Prison Law Office, San
                                  Quentin on litigation involving Vacaville, San Quentin and
                                  Tracy prisons.

1987-1993                         Employed as expert witness by Prisoners Legal Services of
                                  New York on litigation involving Attica and Elmira prisons.

1987-1989                         Employed as expert witness by NAACP LDF, New York on
                                  death row conditions litigation in Missouri and Arkansas.


TEACHING/LECTURES/SYMPOSIUMS:


2016                              Presenter, Criminal Law Seminar, New York University
                                  School of Law, October 18, 2016; My role as Federal
                                  Court Monitor, New York City Department of Corrections.

2013                              Conducted training session for Civil Rights Civil Liberties
                                  Division personnel, Department of Homeland Security,
                                  Washington, D.C., June 4, 2013.

2012                              Panelist, Dialogues on Detention, Austin, Texas, September
                                  12, 2012, Human Rights First.

2012                              Panelist, Next Steps in ICE Detention Reform: A Dialogue
                                  Among Experts in the Criminal Justice/Corrections and
                                  Immigration Detention Systems, Washington, D.C., Human
                                  Rights First, January 30, 2012.
       Case 1:11-cv-05845-LTS Document 596-1 Filed 11/09/23 Page 14 of 17




STEVE J. MARTIN VITA PAGE 13
Teaching/Lectures/Symposiums (continued)


2011                            Panelist, National Institute of Corrections Public Hearings,
                                Shifting the Focus to Reshape Our Thinking Toward
                                Performance Based Outcomes, Stanford University, November
                                2-3, 2011.

2010                            Participant, Department of Homeland Security, “Roundtable
                                on Mental Health and Immigration Enforcement,”
                                Washington, DC, September 24, 2010.

2009                            Speaker, Texas Criminal Defense Lawyers Association,
                                Seminar, Post Conviction Law and Criminal Administrative
                                Remedies, Status of Prisoners’ Rights in Today’s Criminal
                                Justice Arena, January 9, 2009.

2005                            Testified before Commission on Safety & Abuse in America’s
                                Prisons on Staff Use of Force in United States Confinement
                                Settings; April 20, 2005, Tampa, Florida.

2003                            Symposium on Prison Reform, Pace Law School, Judicial
                                Institute and the Open Society; moderator and presenter for
                                Effective Post-PLRA Settlement Models, October 2003.

2001                            Presenter, Southern Methodist University School of Law,
                                Colloquium on the Judicial Work of Judge William Wayne
                                Justice, May 2001.

2000                            Guest Lecturer, University of Minnesota Law School, Institute
                                of Criminal Justice; “Responding to the Crowded Jail, Legal
                                Issues.”

1999                            Visiting Scholar, Institute of Criminology and School of Law,
                                Queen’s University, Belfast, Ireland; Seminar: “Punishment as
                                Big Business: The Iron Triangle,” October 1999.

1999                            Guest Lecturer, New York University School of Law.
       Case 1:11-cv-05845-LTS Document 596-1 Filed 11/09/23 Page 15 of 17



STEVE J. MARTIN VITA PAGE 14
Teaching/Lectures/Symposiums (continued)



1996                               Panelist, Texas Department of Criminal Justice, 3rd Annual
                                   Management Conference, “Texas and the National Criminal
                                   Justice Debate.”

1995                               Guest Lecturer, National Association of Attorneys General
                                   Annual Conference; “The Role of Experts in Prison
                                   Litigation.”

1995                               Testified before the United States Senate Judiciary Committee
                                   as a panel member on the Prison Litigation Reform Act.

1990                               Southwest Texas State University, San Marcos, Texas.
                                   Adjunct faculty - taught corrections course.

1989                               St. Edwards University, Austin, Texas. Adjunct faculty-
                                   taught corrections course.

1988                               Technical Assistance Consultant, National Institute of
                                   Corrections Boulder, Colorado.

1986                               The University of Texas School of Law, Austin, Texas.
                                   Visiting faculty-taught seminar on institutional reform
                                   litigation.

1979-1981                          Langston University, Tulsa, Oklahoma. Adjunct faculty-taught
                                   probation and parole, corrections, and criminology courses.

1976-1977                          Pan American University, Edinburg, Texas. Adjunct faculty -
                                   taught corrections courses.

1973-1974                          Sam Houston State University, Huntsville, Texas. Graduate
                                   Fellow - taught course in social problems.


PUBLICATIONS/PAPERS:

Kercher, Glen A. And Steve J. Martin, “Severity of Correctional Officer Behavior in the Prison
Environment,” presented before the Texas Academy of Science, Huntsville, Texas, 1975.

Martin, Steve J., and Sheldon Ekland-Olson, Texas Prisons: The Walls Came Tumbling Down,
Austin: Texas Monthly Press, 1987.
       Case 1:11-cv-05845-LTS Document 596-1 Filed 11/09/23 Page 16 of 17




STEVE J. MARTIN VITA PAGE 15
Publications/Papers (continued

Ekland-Olson, Sheldon and Steve J. Martin, "Organizational Compliance with Court-Ordered
Reform," 22 Law and Society Review 359, 1988.

Martin, Steve J., "Prisoners' Rights", Texas Tech Law Review, Volume 20, Symposium 1989,
Number 2.

Martin, Steve J., "Texas Prisons: A Brooding Crisis Behind Bars", Texas Lawyer, March 13, 1989.

Martin, Steve J., and Sheldon Ekland-Olson, "Ruiz, A Struggle Over Legitimacy", Courts, Corrections
and the Constitution: The Impact of Judicial Intervention on Prisons and Jails, edited by John J.
DiIulio, Jr., Oxford University Press, 1990.

Martin, Steve J., "The Celling of Texas", Texas Observer, January 11, 1991.

Martin, Steve J., "An End to Ruiz: Shifting the Debate from Rhetoric to Reason", Texas Public Policy
Foundation, April 1995.

Grant, Darlene and Steve Martin, "Should Prison Reform Litigation Be Curtailed?" National Council
on Crime and Delinquency Focus, May 1996.

Martin, Steve J., "Prison Reform Litigation: Shifting the Debate From Rhetoric to Reason," Alan
Fortunoff Criminal Justice Colloquium, Center for Research in Crime and Justice of New York
University School of Law, February 26, 1996.

Martin, Steve J., Perspectives on Justice, “Inmates Haven’t Changed, Prisons Have,” Los Angeles
Times, July 1998.

Martin, Steve J., “Sanctioned Violence in American Prisons,” Building Violence: How America’s
Rush to Incarcerate Creates More Violence, edited by John May, Sage Publications, Inc., January
2000.

Martin, Steve J., “Corrections in the New Millennium: The Mean Season,” Voice for the Defense,
Texas Criminal Defense Lawyers Association, Vol.29 Number 2, March 2000.

Martin, Steve J., “Introduction,” Frontiers of Justice, Volume 3: The Crime Zone, Biddle Publishing
Co., Brunswick, Maine, March 2000.

Martin, Steve J., Book Review-Going Up the River: Travels in a Prison Nation, Punishment &
Society, International Journal of Penology,” Vol. 4, Number 1, January 2002.
       Case 1:11-cv-05845-LTS Document 596-1 Filed 11/09/23 Page 17 of 17




STEVE J. MARTIN VITA PAGE 16
Publications/Papers (continued

Martin, Steve J., Book Review-Punishment & Democracy: Three Strikes and You’re Out in
California, British Journal of Criminology, Vol.43, Number 1 Winter 2003.

Martin, Steve J., Book Review-Maconochie’s Gentlemen: The Story of Norfolk Island and the Roots
of Prison Reform, British Journal of Criminology, Vol.43, Number 4 Autumn 2003.

Hill, Debbie, Larry Hammond, Bruce Skolnik, Steve J. Martin and Donna Clement; “Effective Post-
PLRA Settlement Models: A Case Study of Arizona’s Protective Segregation Lawsuit,” 24 Pace Law
Review 743 (Spring 2004).

Martin, Steve J., Staff Use of Force in U.S. Confinement Settings; Commission on Safety and Abuse
in America’s Prisons, 601 Thirteenth St., N.W., Washington, D. C., Washington Journal of Law &
Policy, Volume 22 (2006 )

Martin, Steve J., Staff Use of Force in U. S. Confinement Settings: Lawful Control Versus Corporal
Punishment; Social Justice Quarterly, Vol. 33, No.4 (2007).

Martin, Steve J., Effective Expert Witnessing in Corrections Litigation: Rules, Relevance &
Reliability, Correctional Law Reporter; Volume XX No.1, June/July 2008.

Martin, Steve J., A Clarion Call for a National Corrections College, Correctional Law Reporter;
Volume XXIV No. 4, December-January 2012.

Martin, Steve J., Staff Use of Force in a Confinement Setting: When Is It Really Necessary,
Correctional Law Reporter, Volume XXV No. 1, June-July 2013.

Martin, Steve J., Use of Force in a Confinement Setting: How Much Is Enough; When Is It Too
Much?, Correctional Law Reporter, Volume XXV No. 6, April-May 2014.

Martin, Steve J., Staff Use of Force in Confinement Settings: Failure to Act (or When Good Men Do
Nothing), Correctional Law Reporter, Volume XXVI No.3, October/November 2014.

Martin, Steve J., Kingsley v. Hendrickson: A Real World Application of the Objective Use-ofForce
Legal Standard for Pre-Trial Detainees, Correctional Law Reporter, Volume XXIX No.6, April/May
2018.

Martin, Steve J., It’s Not Just Policing That Needs Reform: Prison Need It, Too; Washington Post,
July 6, 2020.
